                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,                              )
                                                        )
                 Plaintiff,                             )
                                                        )
 v.                                                     )
                                                                No. 09-00156-07-CR-W-DW
                                                        )
 ROGER WILLIAM WEBB,                                    )
                                                        )
                 Defendant.                             )


                                              ORDER

       This matter is before the Court on Magistrate Judge Sarah Hays’ Report and

Recommendation finding Defendant not competent to stand trial (Doc. 199).

       A three-part scheme for determining mental competency to stand trial exists under 18

U.S.C. § 4241. A district court must first determine, by a preponderance of the evidence, whether

the defendant suffers from a “mental disease or defect rendering him mentally incompetent to the

extent that he is unable to understand the nature and consequences of the proceedings against him

or to assist properly in his defense.” 18 U.S.C. § 4241(a), (d). If the district court concludes that

the defendant lacks sufficient mental competency to proceed to trial, “the court shall commit the

defendant to the custody of the Attorney General” and the “Attorney General shall hospitalize the

defendant for treatment . . . for such a reasonable period of time, not to exceed four months, as is

necessary to determine whether there is a substantial probability that in the foreseeable future he

will attain the capacity to permit the trial to proceed.” 18 U.S.C. § 4241(d), (d)(1).

       On January 13, 2010, Defendant moved for a judicial determination of mental

competency. Thereafter, Defendant was examined at the Federal Detention Center at Englewood,




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Colorado, by Dr. David Morrow. Dr. Morrow concluded that "Mr. Webb is currently suffering

from a mental disease or defect rendering him unable to understand the nature and consequences

of the proceedings against him or properly assist in his defense." During a hearing before

Magistrate Hays, Defendant and the Government stipulated to Dr. Morrow’s findings. After the

hearing, Magistrate Hays prepared a Report and Recommendation finding Defendant

incompetent to stand trial. After an independent review of the record, the Court adopts the

Magistrate’s finding of facts and conclusions of law.

         It is hereby ORDERED that

         (1)       the Magistrate’s Report and Recommendation be attached to and made part of this

                   Order;

         (2)       Defendant Roger William Webb is incompetent to stand trial;

         (3)       Defendant Webb shall be committed to the custody of the Attorney General.

                   Pursuant to 18 U.S.C. § § 4241(d)(1), the Attorney General shall hospitalize

                   Webb for treatment in a suitable facility for a reasonable period of time, not to

                   exceed four months, to determine whether there is a substantial possibility that in

                   the foreseeable future Webb will attain the capacity to permit the trial to proceed.




 Date:         July 12, 2010                                        /s/ Dean Whipple
                                                                         Dean Whipple
                                                                  United States District Judge




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